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                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS

 CASEY BERTRAM,                                  )
                                                 )
 Plaintiff,                                      )
                                                 )    Case No.: 2:23-cv-2215-CSB-EIL
 v.                                              )
                                                 )
 SUNRUN, INC.,                                   )
                                                 )    Hon. Colin Stirling Bruce
 Defendant.                                      )
                                                 )

         DEFENDANT SUNRUN INC.’S CORPORATE DISCLOSURE STATEMENT

         NOW COMES the Defendant, Sunrun Inc. (“Sunrun”), by and through its attorneys,

Kelley Drye & Warren LLP, and for its Corporate Disclosure Statement and notice of affiliates

pursuant to Fed. R. Civ. P. 7.1, and Local Rule 7.1.1, states as follows:

         Sunrun has no parent corporation, and BlackRock Inc. owns 10% or more of Sunrun’s

stock.

 Dated: December 6, 2023
                                                     /s/ Catherine E. James            .
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                                                     Glenn Graham
                                                     Catherine E. James
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